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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    In accordance with the oral order made in camera on

January 4, 2012, it is ORDERED that the defendants are

deemed to have requested Jencks Act material and Federal

Rule of Criminal Procedure 26.2 material as each witness

is tendered to the defendants and that the court has

ordered that the Jencks Act and Rule 26.2 material be so

provided.

    It is further ORDERED that the same is deemed true

for the government to the extent that the government is

entitled to this material under Rule 26.2.                  Thus, the

government is deemed to have requested and the defendants
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shall provide all Rule 26.2 material no later than when

a defendant tenders a witness for cross-examination.

    DONE, this the 4th day of January, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
